




NO. 07-08-0090-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



APRIL 1, 2008

______________________________



BEAU JACKSON FUQUA, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE

_________________________________



FROM THE 100TH DISTRICT COURT OF CARSON COUNTY;



NO. 3594; HONORABLE JOHN FORBIS, JUDGE

_______________________________





Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

ON ABATEMENT AND REMAND

Appellant Beau Jackson Fuqua,
 
appeals his conviction for aggravated sexual assault and punishment of 29 years in the Institutional Division of the &nbsp;Texas Department of Criminal Justice. &nbsp;The clerk’s record was filed on March 21, 2008. &nbsp;

The clerk’s record does not
 
contain a certification by the trial court of appellant’s right of appeal under Texas Rule of Appellant Procedure 25.2(d). &nbsp;
Rule 25 requires the trial court to enter such a certification “each time it enters a judgment of guilt or other appealable order.” &nbsp;Tex. R. App. P. 25.2(a)(2). 

Consequently, we abate this appeal and remand the cause to the trial court for further proceedings. &nbsp;On remand, the trial court shall utilize whatever means necessary to secure a Certification of Defendant’s Right of Appeal 
in compliance with Texas Rule of Appellate Procedure 25.2(d), regarding appellant’s appeal of the trial court’s judgment. &nbsp;Once executed, the certification shall be included in a supplemental clerk’s record and filed with this Court on or before April 30, 2008
. &nbsp;

It is so ordered.



Per Curiam



Do not publish.












